It is well settled by repeated decisions of the Supreme Court and this court that the striking of a defendant's answer is not a final judgment, and that where the only assignment of error in a bill of exceptions is on the striking of the answer this court is without jurisdiction to entertain the bill of exceptions. This is true even where the bill of exceptions contains a recital that the case proceeded to a judgment in favor of the plaintiff. McCranie v. Shipp, 10 Ga. App. 544
(73 S.E. 701); Cheney v. Corbitt Motor-Truck Co., 36 Ga. App. 590 (137 S.E. 412); Willis v. Daniel, 39 Ga. App. 670
(148 S.E. 301). Applying this ruling to the facts of the instant case, the writ of error must be
Dismissed. MacIntyre and Gardner, JJ.,concur.
                       DECIDED FEBRUARY 17, 1943. *Page 835 